                       Case 1:20-mj-01879-SCY Document 1 Filed 11/03/20 Page 1 of 8
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                            Defendant(s)


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          Case 1:20-mj-01879-SCY Document 1 Filed 11/03/20 Page 2 of 8




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                                                    September 23, 2020
                                                    Clerk of the Court
                                                    Superior Court of CA
                                                    County of Santa Clara
                                                    F2001696
                                                    By: llopez
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